          Case 1:15-cr-00036-DSC Document 62 Filed 07/18/17 Page 1 of 1


                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                             )
                                                     )
               v.                                    )      1:15cr36
                                                     )      Electronic Filing
ELIZABETH MCMAHAN                                    )

                                     ORDER OF COURT

       AND NOW, this 18th day of July, 2017, defendant having filed a Motion to Extend Time

for Filing of Pretrial Motions, counsel for the government having indicated no objection to the

motion, and the court having given the matter due consideration, IT IS HEREBY ORDERED

that defendant’s motion (ECF 61) is GRANTED. The defendant shall file her pretrial motions

on or before August 16, 2017.

       IT IS FURTHER ORDERED that the time from July 17, 2017, through August 16, 2017,

be deemed excludable delay under the Speedy Trial Act, 18 U.S.C. § 3161 et seq. Specifically,

the court finds the ends of justice served by granting this continuance outweighs the best

interests of the public and the defendant to a speedy trial. 18 U.S.C. § 3161 (h)(7)(A). For the

reasons stated in defendant’s motion, the failure to grant such a continuance would deny counsel

for defendant the reasonable time necessary for effective preparation, taking into account the

exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).

       IT IS FURTHER ORDERED that, pursuant to Local Criminal Rule 12.1(c), the

government shall file a response and accompanying brief to any pretrial motion within fourteen

(14) days of the date of service.


                                             s/ DAVID STEWART CERCONE
                                             David Stewart Cercone
                                             United States District Judge

cc:    Christian A. Trabold, AUSA
       Thomas Livingston, AFPD

       (Via CM/ECF Electronic Mail)
